THE ATTORNEY GENERAL HAS RECEIVED YOUR LETTER ASKING FOR AN OPINION ADDRESSING, IN EFFECT, THE FOLLOWING QUESTION:
  UNDER 59 O.S. 887.6(C) (1991), CAN THE OKLAHOMA BOARD OF MEDICAL LICENSURE AND SUPERVISION ("BOARD") GRANT A PHYSICAL THERAPIST ASSISTANT LICENSE TO AN APPLICANT WHO AS NOT GRADUATED FROM AN APPROVED PROGRAM FOR PHYSICAL THERAPIST ASSISTANTS BUT WHO HAS COMPLETED AN APPROVED COURSE OF STUDY AS DETERMINED BY THE BOARD?
BECAUSE YOUR QUESTION MAY BE ANSWERED BY REFERENCE TO CONTROLLING STATUTES AND CASE LAW, THIS OFFICE HAS DECIDED TO RESPOND TO YOUR REQUEST THROUGH. THIS INFORMAL LETTER. THE FOLLOWING DISCUSSION IS NOT, THEREFORE, AN OFFICIAL OPINION OF THE ATTORNEY GENERAL, BUT RATHER MY ANALYSIS AND CONCLUSIONS THAT HAVE BEER. REACHED AFTER CAREFUL RESEARCH OF THE ISSUES YOU HAVE RAISED.
THE PHYSICAL THERAPY PRACTICE ACT, 59 O.S. 887.1 TO 59 O.S. 887.18 (1991), ESTABLISHES THE REQUIREMENTS PHYSICAL THERAPISTS AND PHYSICAL THERAPIST ASSISTANTS MUST SATISFY IN ORDER TO BE LICENSED BY THE BOARD. 59 O.S. 887.6 PROVIDES THE BASIC QUALIFICATIONS FOR LICENSURE FOR BOTH PHYSICAL THERAPISTS AND PHYSICAL THERAPIST ASSISTANTS. APPLICANTS MUST BE OF GOOD MORAL CHARACTER AND MUST PASS AN EXAMINATION BASED ON STANDARDS PROMULGATED BY THE BOARD. 59 O.S. 887.6(A)(1)/59 O.S. 887.6(A)(2)
IN ADDITION TO THESE REQUIREMENTS, AN APPLICANT FOR PHYSICIAN THERAPIST ASSISTANCE LICENSE
"SHALL HAVE GRADUATED FROM AN APPROVED PROGRAM FOR PHYSICAL THERAPY ASSISTANTS CONSISTING OF AT LEAST A TWO-YEAR PROGRAM APPROVED BY A NATIONAL ACCREDITING BODY WHICH HAS BEEN RECOGNIZED BY THE BOARD. AN APPROVED COURSE OF STUDY SHALL INCLUDE SUCH ELEMENTARY AND INTERMEDIATE COURSES IN THE ANATOMICAL, BIOLOGICAL, AND PHYSICAL SCIENCES AS MAY BE DETERMINED BY THE BOARD." 59 O.S. 887.6(C) (1991).
THE RULES PROMULGATED BY THE BOARD COMPLEMENT THIS SUBSECTION:
"A QUALIFIED PHYSICAL THERAPY ASSISTANT MUST HAVE GRADUATED FROM A PROGRAM FOR PHYSICAL THERAPY ASSISTANTS ACCREDITED BY THE COMMISSION ON ACCREDITATION OF PHYSICAL THERAPY EDUCATION OR APPROVED SUCCESSOR ORGANIZATION. SUCH A PROGRAM SHALL HAVE BEEN COMPLETED IN A COLLEGE WHICH IS ACCREDITED BY THE REGIONAL ACCREDITING AGENCY FOR HIGHER EDUCATION."
OKLA ADM. CCDE, 435:20-3-1(D).
ANALYZING WHETHER THE BOARD CAN GRANT A PHYSICAL THERAPIST ASSISTANT LICENSE TO AN APPLICANT WHO HAS NOT GRADUATED FROM AN A APPROVED PROGRAM BUT HAS COMPLETED AN APPROVED COURSE OF STUDY AS DETERMINED BY THE BOARD REQUIRES CONSTRUING THE LANGUAGE OF 59 O.S. 887.6(C) AND THE BOARD'S RULES. IN CONSTRUING A STATUTE, THE CARDINAL RULE IS TO ASCERTAIN THE INTENT OF THE LEGISLATURE BY CONSIDERING THE LANGUAGE OF THE STATUTE AS A WHOLE IN LIGHT OF ITS GENERAL PURPOSE. OKLAHOMA JOURNAL PUBLISHING CO. V. CITY OF OKLAHOMA CITY, 620 P.2D 52 (OKLA.APP.1979). IT IS PRESUMED THE LEGISLATURE, IN THE STATUTE, SAID WHAT IT MEANT AND MEANT WHAT IT SAID. DARNEL V. CHRYSLER CORPORATION, 687 P.2D 132 (OKLA.1984). ONE OF THE GENERAL PURPOSES OF THE PHYSICAL THERAPY PRACTICE ACT IS TO INSURE THAT PHYSICAL THERAPIST ASSISTANTS ARE QUALIFIED THROUGH ADEQUATE TRAINING TO PRACTICE PHYSICAL THERAPIST ASSISTANT. TO INSURE ADEQUATE TRAINING, BOTH THE LEGISLATURE AND THE BOARD __ HAVE MANDATED THAT AN APPLICANT FOR A PHYSICAL THERAPIST ASSISTANT LICENSE SHALL HAVE GRADUATED FROM AN APPROVED PROGRAM FOR PHYSICAL THERAPIST ASSISTANTS CONSISTING OF AT LEAST A TWO YEAR PROGRAM APPROVED BY A NATIONAL ACCREDITING BODY WHICH HAS BEEN RECOGNIZED BY THE BOARD." SECTION 59 O.S. 887.6(C) (EMPHASIS ADDED).
BY THIS LANGUAGE, THE LEGISLATURE INTENDED TO GIVE THE BOARD AUTHORITY TO APPROVE A COURSE OF STUDY OR PROGRAM, BUT IT WANTED THE APPROVED PROGRAM OR COURSE OF STUDY TO CONSIST OF, AT A MINIMUM, A TWO-YEAR PROGRAM APPROVED BY A NATIONAL ACCREDITING BODY RECOGNIZED BY THE BOARD. BY ITS RULES, THE BOARD HAS ACCORDINGLY RECOGNIZED THE ACCREDITATION OF THE COMMISSION ON ACCREDITATION OF PHYSICAL THERAPY EDUCATION OR AN APPROVED SUCCESSOR ORGANIZATION. CONSEQUENTLY, IF AN APPLICANT HAS NOT GRADUATED FROM A TWO-YEAR PROGRAM ACCREDITED BY THIS COMMISSION OR AN APPROVED SUCCESSOR ORGANIZATION, THE BOARD CANNOT GRANT THAT APPLICANT A LICENSE.
WHILE THE BOARD HAS THE DISCRETION TO DETERMINE THE COURSES TO BE INCLUDED IN AN APPROVED COURSE OF STUDY, ACCORDING TO THE LAST SENTENCE OF 59 O.S. 887.6(C), THE COURSE OF STUDY MUST NEVERTHELESS BE PART OF AT LEAST A TWO-YEAR PROGRAM APPROVED BY THE COMMISSION ON ACCREDITATION OF PHYSICAL THERAPY EDUCATION OR AN APPROVED SUCCESSOR ORGANIZATION. THE LAST SENTENCE OF 59 O.S. 887.6(C) SIMPLY GIVEN THE BOARD THE ABILITY TO OUTLINE A COURSE OF STUDY AND TO RECOGNIZE THE NATIONAL ACCREDITING BODY TO APPROVE THE PROGRAM; IT DOES N. GIVE THE BOARD THE AUTHORIT Y TO RELIEVE AN APPLICANT OF GRADUATING FROM AN APPROVED PROGRAM PURSUANT TO THE LANGUAGE OF THE FIRS SENTENCE OF 887.6(C).
IT IS THEREFORE, THE OPINION OF THE UNDERSIGNED ATTORNEY THAT THE BOARD CANNOT GRANT A PHYSICAL THERAPIST ASSISTANT LICENSE TO ONE HAS NOT GRADUATED FROM AN APPROVED PROGRAM FOR PHYSICAL THERAPIST ASSISTANT BUT WHO HAS COMPLETED AN APPROVED COURSE OF STUDY AS DETERMINED BY THE BOARD.
(BRETT ROBINSON)